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                 Aviation lnvestigation Preliminary Report

     Location:                   Houston,   TX                          Accident Number: DCA24FAO17

     Date & Time:                october 24,?D23,15:20     Local Registration' il;]|ff(g/'
                                 TEXTRON AVIAT|ON tNC s10 (A1);
                                                                                                4 None (A1);3 None
     Aircraft:                   RAYTHEoN AIRCRAFT coMpANy              tnjuries:               (A2)
                                 HAWKER ssoxP       (A2)
                                 Part 91: General aviation - Personal (A1); Part 135: Air taxi & commuter - Non-
     Flight Conducted Under:
                                 scheduled (A2)




 On October 24,2023, about 15:20 central daylight time, a Raytheon Hawker 850XP, N269AA,
was taking off on runway 22 when its left wing collided with the vertical stabilizer of a Textron
Aviation (Cessna) Citation Mustang, N51OHM, that was landing on runway 'l3R at William P.
Hobby Airport (HOU), Houston, Texas. Day visual meteorological conditions prevailed at the
time of the accident.
There were no injuries to the 2 pilots and 1 passenger aboard N269AA or to the 1 pilot and 3
passengers aboard N51OHM. N269AA sustained minor damage and N51OHM was
substantially damaged during the collision. N269AA was operating as a Title 14 Code of
Federal Regulations (CFR) Part '135 on-demand passenger flight from HOU to Waukesha
County Airport (UES), Waukesha, Wisconsin. N51OHM was operating as a Title 14 CFR Part 91
flight from Fulton County Executive Airport/Charlie Brown Field (FTY), Atlanta, Georgia, to HOU
HOU has intersecting runways, and the local controller had instructed the crew of N269AA to
line up and wait (LUAW) on runway 22.The crew of N269AA said in a post-accident interview
that they believed they heard that they were cleared for takeoff when they took off. The
collision between the two airplanes occurred at the intersection of the two runways, see figure
1.




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Figure 1. View of both airplanes flight tracks with the area the ground collision occurred
highlighted in yellow. The blue line represents N510HM, and the red line represents N269AA.
According to FAA record of communications, at 151 4:12lhe crew of N269AA had contacted
ground control (GC) requesting clearance to taxi for departure.

About a minute later, the pilot of N51OHM checked in with local control (LC) while on a nine-
mile final to runway 13R. The local controller then cleared the pilot of N51OHM to land. The
pilot of N51OHM read backthe landing clearance-

As N269AA approached runway 22for departure, about 1515:50, ground control instructed the
crew of N269AA to monitor LC frequency. The flight crew stated in their post-accident
interviewthat as they passed taxiway "K2" during theirtaxito runway Z2they switched to the
LC frequency. As the airplane began the left turn to be perpendicular to the runway, they stated
the V-speeds were no longer on the display screens.

At 1517:32the pilot of N51OHM reported a four-mile final.
At 1518:01 the local controller instructed the crew of N269AAto LUAW on runway 22,to which
the crew acknowledged, The local controller did not give a traffic advisory to N269AA,
N269AA was in the takeoff roll on runway ZZ,when the flight datalclearance delivery controller
alerted the local controller about N269AA's movement, and at 1519:47 the local controller
stated "november nine alpha alpha, stop, hold your position." There was no response from the
crew of N269AA, and at 1519:53 the local controller again stated, "alpha, alpha, hold your
position, stop," to which there was still no response_


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 The flight crew from N269AA stated in their post-accident intervaew they had a rudder bias
 alert, and a pitch trim alert which they had to resolve as they were in the takeoff roll.

 Both crew members in N269M said that they did not see the Citation Mustang until about 1
 second prior to impact and described the feeling of the impact as a "thud." The pilot in the left
 seat was the pilot flying (PF) and the pilot in the right seat was the pilot monitoring (PM).

 At 1520:00, N269AA collided with N510HM. At 1520:14, the local controller began providing
 instructions to send around all aircraft that were on final approach behind N51OHM.
 At152Q.29 the crew of N269AA, who had taken off and was in the initial climb, informed local
 control that they needed to return to the airport, and the local controller provided vectors to
 return to the airport and land on runway 13R.

 At 1521:08 The local controller cleared N269AA to land on runway 13R, and the flight landed
 otherwise uneventfully.

ln the post-accident interview N51OHM pilot said that he did not see N269AA airplane but
heard a sound similar to a truck tire blowing out on a highway. N269AA crew stated that their
airplane did not yaw, and they experienced no controllability issues during the takeoff. They
were only aware of damage after parking and exiting the airplane.

Airport Surface Detection Equipment:
HOU tower is equipped with an Airport Surface Detection Equipment - ModelX (ASDE-X)
system, with displays located at the LC, GC, operations supervisor, and helicopter position
workstations.
ASDE-X is a surface movement radar that enables air traffic controllers to detect potential
runway conflicts by providing detailed coverage of movement on runways and taxiways. ASDE-
X collects data from a variety of sources to track vehicles and aircraft on the airport movement
area and obtain identification information from aircraft transponders.

The controllers noticed N269AA's movement before the ASDE-X alert which occurred at
1519:49-



Ai rcraft Damage Assessment:

Post-accident examination of N269AA revealed that the left wing exhibited impact damage-
The titanium leading-edge panel exhibited a 'V-shape" aft indention to the wing front spar with
sheet metal remnants of the Cessna Mustang embedded, see figure 2,

N269AA's left-wing winglet remained attached to the left wing. The winglet leading edge
exhibited white paint transfer marks and the navigation light lens was impact separated and
pieces of the glass were found in the Cessna Mustang's tail cone/stinger. About ten inches of


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 the top section of N269AA's winglet had separated due to the impact with N510HM, see figure
 3.




Figure 2. Close up view of N269AA's left-wing leading-edge damage.




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Figure 3. Close up view of N269AA's left winglet/navigation light assembly damage.

Post-crash examination of N51OHM revealed that the left side of its tail section had been
impacted by the left wing of N269AA. The torn skin on the tail section was consistent with
N269AA's wing penetrating the left side of N510HM's tail stinger and exiting the right side,
severing a portion of the stinger. The impact damage was isolated to the area of the
empennage, see figures 4, 5 and 6.

The impact fractured and separated a section of the aft canted bulkhead- A section of the aft
horizontal stabilizer spar;common to the rudder sector attach point, was torn and bent
consistent with the wing impact. The rudder sector mount was torn from the structure at the
fastener locations.
The rudder torque tube was fracture separated from the rudder control sector and the rudder.
The upper and lower left and lower right rudder control cables were broken in a manner
consistent with tensile overload. The upper right rudder control cable remained intact, but the
ball end was pulled from the rudder sector. The autopilot rudder servo control cable was
fractured in tensile overload. The left autopilot cable pulley bracket, with pully attached, was
separated from the canted bulkhead. The left strake was impact fractured from the tail cone
stinger and was recovered from the runway along with various sheet metal fragments from the
stinger.

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Figure 4. Left side view of N510HM's damage to its empennage




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Figure 5. Aft view of N510HM's damage to its empennage




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Figure 6. Right side view of N510HM's damage to its empennage.



The following NTSB specialists have been assigned to investigate the accident: operations,
human performance, air traffic control, and cockpit voice recorder (CVR). The Federal Avlation
Administration (FAA), National Air Traffic Controllers Union (NATCA), Textron Aviation, DuPage
Aerospace Corporation (operator of N269AA), and My Jet DOM, LLC (operator of N51OHM),
are parties to the investigation.

N269AA was equipped with a CVR, which was removed and sent to the NTSB Vehicle Recorder
Laboratory in Washington, DC, for download and analysis. N51OHM was not equipped with
recorders.

The investigation is continuing.




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  Aircraft and Owner/Operator lnformation (A1)
  Aircraft Make:                     TEXTRON AVIATION INC       Registration:                     N510HM

  Model/Series:                      510                        Aircraft CategorF                 Airplane

  Amateur Built:
  Operaton                           SB 501   LLC               Operating Cerrificate(s) None
                                                                Held:

  Operator llesignator Code:


  Aircraft and Owner/Operator lnformation (A2)
  Aircraft   Maks                    RAYTHEON AIRCRAFT         Regisrration:                      NZ69M
                                     COMPANY
  Model/Series:                      HAWKER 85OXP              Airctaft Gategory                  Airplane
  Amateur Built:
  Operatot:                          WHITMORE HOLDINGS LLC     Operating Certifi cate(s)          Ondemand airtaxi(135)
                                                               Held:

  Operator llesignator Code:

  Meteoroloqical lnformation and Fliqht Plan
  Conditions at Accident Site:                                   Gondition of Light:
  Observation Facility, Elevation:                               Observation Time:
  Distance from Accident Site:                                  Ternperaturc/Dew Point:
  Lowect Clurd Condiiion:                                       Wind Speed/Gusts, Direction:
 Loweet Ceiling:                                                vlBibility:
 Altimeter Setting:                                             Type of Flight Plan Filed:
 Departure Point:                                               Deslination:


                   and lm        lnformation        1

 Grerv lnjuriec:                      1 None                   Aircraft Damage:        Substantial
 Passenger lniuries:                  3 None                   Aircraft Fire:              None
 Ground lniuries:                                              Aircraft Explosion:         None

 Total lnjuries:                      4 None                   Latitude, Longitude:    29.6407,-95.274

l,Vreckage and lmpac,t lnformation (A2)
 Crew lnjuries:                       2 None                   Aircraft Damage:        Minor
 Passenger lnjuries:                  'l None                  Aircraft Fire:          None

 Ground lnjuries:                                              Aircraft Erplosion:     None
 Toal lnjuries:                       3 None                   Latitude, Longitude:    29.6407,-95.274




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